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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Roadget Business Pte. Ltd.
                                                            Plaintiff,
v.                                                                        Case No.:
                                                                          1:23−cv−16262
                                                                          Honorable Jeffrey
                                                                          I Cummings
The Individuals, Corporations, Limited Liability
Companies, Partnerships, And Unincorporated
Associations Identified On Schedule A Hereto
                                                            Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, March 1, 2024:


       MINUTE entry before the Honorable Jeffrey I Cummings: Defendants' unopposed
emergency motion to modify asset freeze pending ruling on plaintiff's motion for
preliminary injunction [58] is granted. Enter Order Modifying Asset Freeze. Mailed notice
(cc, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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